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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Civil Action No. 1:22-cv-01129-NYW-SBP

 ERIC COOMER, Ph.D.,
       Plaintiff

 v.

 MICHAEL J. LINDELL, FRANKSPEECH LLC,
 AND MY PILLOW, INC.,
      Defendants


                       FIRST AMENDED JOINT TRIAL EXHIBITS



EX     Witness      Description         Auth     Stip   Offered     Admitted       Refused   Court Use Only

                 119-page Report
                 Ex. 2 to Plaintiff’s
1                Motion in Limine
                                                  N

                 (Confidential)

                 2016 Coomer Tax
                 Return
2                000386-000542
                                                  Y

                 (Confidential)

                 2017 Coomer Tax
                 Return
3                000543-000698
                                                  Y

                 (Confidential)




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                 2018 Coomer Tax
                 Return
4                000699-000879
                                             Y

                 (Confidential)

                 2019 Coomer Tax
                 Return
5                000877-001033
                                             Y

                 (Confidential)

                 2020 Coomer Tax
                 Return
                 001034-001211
                 Summary
6                                            Y
                 Coomer Depo
                 Ex 3
                 (Confidential)

                 2021 Coomer Tax
                 Return
7                001212-001243
                                             Y

                 (Confidential)

                 2022 Coomer Tax
                 Return

8                Coomer Depo                 Y
                 Ex 4
                 (Confidential)

                 Coomer social
                 media posts

9                Coomer Depo                 N
                 Ex 8
                 (Confidential)

                 FRANKSPEECH
10   Lindell
                 -000057
                                             Y




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EX     Witness      Description       Auth     Stip   Offered     Admitted       Refused   Court Use Only

                 Working Guest
                 List for Cyber
11   Lindell     Symposium                      N

                 LINDELL-000005

                 Invitation
                 spreadsheet for
                 state governors to
12   Lindell
                 Cyber Symposium
                                                N

                 LINDELL-000008

                 Confirmed media
                 attendees to Cyber
13   Lindell     Symposium                      Y

                 LINDELL-000011

                 Invitation
                 spreadsheet for
                 U.S. Sentators to
14   Lindell
                 Cyber Symposium
                                                N

                 LINDELL-000016

                 Invitation
                 spreadsheet for
                 state
15   Lindell     representatives to             N
                 Cyber Symposium
                 LINDELL-000017

                 Invitation
                 spreadsheet for
                 U.S.
16   Lindell     Representatives to             N
                 Cyber Symposium
                 LINDELL-000018

                 Guest list for
                 Cyber Symposium
17   Lindell                                    Y
                 LINDELL-000020




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EX     Witness      Description        Auth     Stip   Offered     Admitted       Refused   Court Use Only

                 Transcript page
18               Ex. 47 to Oltmann               Y
                 Depo

                 06-08-10
                 Coomer Employee
                 File
19   Klopman     DOMINION0000                    Y
                 01-000071
                 (Highly
                 Confidential
                 AEO)

                 05-28-19
                 Democracy Suite
20               Report                          N
                 Coomer Depo
                 Ex 13

                 11-13-19
                 Declaration of Dr.
                 Eric D. Coomer
21                                               N
                 Coomer Depo
                 Ex 14

                 02-16-20
                 screenshot of
                 video; I’m not just
                 talking about me,
22   Oltmann     this isn’t about                N
                 me; Kristopher
                 Jacks, Chair of
                 Our Revolution
                 Weld, Co

                 03-30-20 Photo of
23   Lindell
                 Lindell/Trump
                                                 N


                 06-30-20 text
                 string
24   Lindell     MYPILLOW-                       N
                 000723-000724
                 (Confidential)




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EX    Witness      Description        Auth     Stip   Offered     Admitted       Refused   Court Use Only

                09-26-20 (alleged)
                Handwritten notes
                (20CV34319-
                JODisclosures-
25   McGuire    000205-000208);                 Y
                produced in Case
                No. 2020cv34319;
                Coomer v. DJTFP
                et al

                09-26-20
                screenshot of “eric
                dominion denver
                colorado”
                (20CV34319-
26   Oltmann    JOdisclosures-                  Y
                0199); produced
                in Case
                No. 2020cv34319;
                Coomer v. DJTFP
                et al

                09-29-20
                Declaration of J.
                Alex Halderman
27                                              N
                Coomer Depo
                Ex 15

                10-11-20 Curling
                v Raffensperger
28                                              N
                Coomer Depo
                Ex 16

                11-10-20 email
                from Oltmann to
                Taylor Scott re
29   Oltmann    Voter Fraud                     Y

                OAN 000002-
                000004




                                                 5
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                 11-11-20 Coomer
                 resignation-DVS

30               DOMINION0000                   Y
                 27
                 (Confidential)

                 11-12-20 Press
                 Release: Joint
                 Statement from
                 Elections
                 Infrastructure
                 Government
                 Coordinating
31   Halderman
                 Council & the
                                                N
                 Election
                 Infrastructure
                 Sector
                 Coordinating
                 Executive
                 Committees

                 11-13-20 Oltmann
                 Affidavit
                 Powell 000206-
32   McGuire     000211; produced               Y
                 in Case No.
                 2020cv34319;
                 Coomer v. DJTFP
                 et al

                 12-01-20 email
                 string re referral
                 from K2
                 Intelligence
33   Finkell                                    Y
                 FINKELL-00048-
                 00053
                 (Confidential)

                 12-05-20 Parler
                 social media post
34   McGuire
                 by Oltmann re
                                                N
                 Coomer’s home




                                                 6
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                 12-07-20 email
                 between Finkell
                 and Coomer re
                 scheduling
35   Finkell                                    Y
                 FINKELL-00068-
                 00069
                 (Confidential)

                 12-08-20 Denver
                 Post Commentary
                 OAN001885-
36               001887
                                                Y

                 Coomer Depo Ex
                 6

                 12-09-20 to 04-
                 19-23 Finkell file
37   Finkell     FINKELL-00001-                 Y
                 00114
                 (Confidential)

                 12-12-20 Parler
38   McGuire     social media post              Y
                 by Oltmann

                 01-03-21 social
                 media tweets
39   Peters      between Tina                   N
                 Peters/Senator Pat
                 Toome

                 Excerpt from 01-
                 06-21 report that
                 was produced by
40   Olsen       the U.S. Congress              N
                 in Chapter 4,
                 Section 10,
                 pp. 393-39




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EX     Witness      Description      Auth     Stip   Offered     Admitted       Refused   Court Use Only

                 Excerpt from 01-
                 06-21 report that
                 was produced by
41   Olsen       the U.S. Congress             N
                 in Chapter 7,
                 Section 7.12, pp.
                 608-609

                 01-15-21 Photo
42   Lindell     Lindell @ White               N
                 House

                 01-15-21 Photo
43   Lindell     Lindell @ White               N
                 House

                 01-17-21 text
                 messages
44                                             Y
                 EC 22cv01129
                 001263-001264

                 01-17-21 text
                 messages

45               001263-001264                 Y
                 Coomer Depo Ex
                 19

                 01-22-21 Coomer
                 Demand Letter
                 (Newsmax)
46                                             N
                 NMX LIND
                 000079 – NMX
                 LIND 000087

                 01-29-21 email
                 from Mary
                 Fanning to
                 Brannon Howse
47   Howse       and Mike Lindell              Y

                 DEFS-572 and
                 573
                 (Confidential)




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EX     Witness      Description        Auth     Stip   Offered     Admitted       Refused   Court Use Only

                 02-02-21 email
                 between Dennis
                 Montgomery and
                 Mike Lindell re
48   Lindell
                 SETEC
                                                 Y

                 LINDELL-010994
                 (Confidential)

                 02-04-21 Clare
                 Locke letter to
49   Olsen       Fanning re False                N
                 Statement about
                 Dominion

                 02-04-21
                 Complaint against
                 Trump
50                                               Y
                 NMX LIND
                 000013 – NMX
                 LIND 000078

                 02-04-21 Pltf First
                 Amended
                 Complaint v
51               Trump et al                     Y

                 Coomer Depo
                 Ex 11

                 02-05-21 Coomer
                 text string
52                                               Y
                 EC 22cv01129
                 001259 - 001262

                 02-05-21 Coomer
                 text string
                 EC 22cv01129
53               001259 – 001262
                                                 Y

                 Coomer Depo
                 Ex 17




                                                  9
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EX     Witness      Description        Auth     Stip   Offered     Admitted       Refused   Court Use Only

                 02-06-21 to 05-
                 02-22 text
                 messages between
                 Chris Ruddy and
                 Mike Lindell
54   Ruddy                                       Y
                 LINDELL-
                 011000-LINDELL
                 011023
                 (Confidential)

                 02-22-21 text
                 message: Mr.
                 Lindell, my
                 activity friend Joe
55   Oltmann
                 Oltmann … Dr.
                                                 Y
                 Chaps
                 (Confidential)

                 02-25-21 email
                 chain to Kim
                 Rasmussen from
                 M. Lindell,
                 Subject: Fwd:
56   Lindell     Regarding Your                  N
                 Lawsuit
                 LINDELL
                 001293-001294
                 (Confidential)

                 02-25-21 Olsen
                 engagement letter
57   Olsen       to Lindell                      N

                 OLSEN 002506

                 02-28-21 text
                 message between
58   Oltmann
                 Oltmann to
                                                 Y
                 Lindell




                                                 10
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EX     Witness      Description       Auth     Stip   Offered     Admitted       Refused   Court Use Only

                 03-10-21 email
                 between Oltmann
                 and Dawn (My
59   Oltmann     Pillow) re                     N
                 Conservative
                 Daily Podcast
                 Revenue

                 03-10-21 email
                 from Dawn Curtis,
                 Subject “RE:
                 Conservative
60   McGuire     Daily Podcast                  N
                 Revenue Share
                 items and Lindell
                 Schedule for
                 Thursday”

                 03-11-21 Fanning
                 email re Dominion
                 letter to American
61   Olsen
                 Report
                                                Y

                 OLSEN 000221

                 03-11-21 Master
                 Consulting
                 Services
                 Agreement
                 between Brannon
                 S. Howse, RJ
                 Daniel Johnson,
                 Johnston Howse,
62   Lindell
                 LLC, and Michael
                                                N
                 Lindell and
                 VOCL, LLC
                 (unsigned)
                 FRANKSPEECH
                 000009-000014
                 (Confidential)




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EX    Witness      Description       Auth     Stip   Offered     Admitted       Refused   Court Use Only

                03-27-21 email
                from Fanning to
                Olsen re Chobani
                (funded by Soros
                through Chobani's
                wife) is running
                Islamic terrorists
                from Canada
63   Olsen
                (funded by the
                                               N
                Canadian teachers
                pension fund)
                through the
                Chobani turnstile
                OLSEN 000382-
                000383

                03-28-21 text
                message from
                Brannon Howse to
                Kurt Olsen re why
64   Howse
                Olsen brought into
                                               N
                mix
                CTRL 000001

                03-30-21 text
                messages

65              001503-001504                  Y
                Coomer Depo
                Ex 18

                04-06-21 email
                from Olsen to
                Fanning re
                Dominion/Smartm
66   Olsen
                atic/Coomer
                                               Y
                threats
                OLSEN 000380




                                               12
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EX     Witness      Description      Auth     Stip   Offered     Admitted       Refused   Court Use Only

                 04-08-21 AP
                 article re
                 Dominion Work
67               sues …                        Y

                 Coomer Depo
                 Ex 9

                 04-08-21 email re
                 Frank Influencer
                 Demo
68   Oltmann                                   Y
                 DEFS-000258
                 (Confidential)

                 04-08-21 follow
                 up email re Frank
69   Oltmann     Influencer Demo               Y
                 DEFS-000259
                 (Confidential)

                 04-09-21
                 Confidential
                 Settlement
                 Agreement and
                 Release between
                 Coomer and
                 Newsmax dated
                 04-09-21; Case
70   Ruddy       No. 2020cv34319;              Y
                 Coomer v. DJTFP
                 et al (Redacted)
                 NMX LIND
                 000088-000097
                 (Confidential
                 AEO)

                 04-09-21 Frank
                 Influencer Demo
71   Lindell     FRANKSPEECH-                  Y
                 000054
                 (Confidential)




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EX    Witness      Description     Auth     Stip   Offered     Admitted       Refused   Court Use Only

                05-02-21 McGuire
72   McGuire    Telegram social              N
                media posts

                05-09-21
                Newsweek Article
                re Lindell Urges
73   Coomer
                Dominion
                                             Y
                Employee to Turn
                Himself In

                05-11-21 Coomer-
                DVS separation
                agreement
                DOMINION0000
74              17-000026; EX
                                             Y
                22cv01129
                001244 – 001253
                (Confidential)

                05-11-21 Coomer-
                DVS separation
                agreement
                DOMINION0000
                17-000026; EX
75              22cv01129                    Y
                001244 – 001253
                Coomer Depo
                Ex 5
                (Confidential)

                05-20-21 text
                message from Joe
                to Mike
76   Oltmann                                 Y
                DEFS-000248
                (Confidential)




                                             14
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EX     Witness      Description       Auth     Stip   Offered     Admitted       Refused   Court Use Only

                 06-01-21 email
                 chain to Todd
                 Carter from RJ
                 Johnston, Subject,
77   Lindell     Re: More Rally                 Y
                 Updates
                 HOWSE PROD.
                 0511-0519

                 State of Delaware
78   Howse       Entity Details                 Y
                 Lindell-TV, LLC

                 07-04-21 text
                 message between
                 Brannon Howse
                 and Kurt Olsen;
                 possible copy of a
79   Howse       text that was sent             Y
                 to Howse by a
                 Jeffrey Nyquist
                 CTRL 000042 and
                 43

                 07-20-21
                 expanded
                 summary to
                 Arpaio from Zullo
                 re subject
80   Olsen       infiltration of                N
                 Mike Lindell –
                 threat
                 OLSEN 0002421-
                 002434

                 07-28-21 to 05-
                 09-22 text
                 messages
81   Lindell
                 MYPILLOW
                                                Y
                 002134-002139
                 (Confidential)




                                                15
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EX     Witness      Description       Auth     Stip   Offered     Admitted       Refused   Court Use Only

                 08-02-21 email
                 chain to Mike
                 Lindell from Janet
                 Lynn, Subject 3-D
                 Model of Cyber
82   Lindell
                 Symposium Venue
                                                Y
                 Layout
                 HOWSE PROD.
                 0015

                 08-02-21 email
                 from Jerry
                 Johnson to Mike
                 Lindell re letter
                 about Dennis
83   Lindell     Montgomery and                 Y
                 Symposium
                 MYPILLOW-
                 000758-000773
                 (Confidential)

                 08-02-21 email
                 from Phil Waldren
                 re NDA agreement
84   Olsen                                      Y
                 OLSEN 000005-
                 000006

                 08-03-21
                 Software/Data
85   Merritt     Nondisclosure btw     N        N
                 Lindell and Joshua
                 Merritt

                 08-04-21 email
                 chain to Janet
                 Lynn from James
                 Oaks, Subject, Re:
                 Cyber Symposium
86   Lindell
                 Day 1 Program
                                                Y
                 Agenda
                 HOWSE PROD.
                 0119-0122




                                                16
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                 08-2021 text
87   Merritt
                 string
                                      N        N


                 08-09-21 thru 04-
                 28-22 text
                 messages with
                 Tina Peters
88   Lindell                                   N
                 LINDELL-
                 001419-001424
                 (Confidential)

                 08-10-21
                 screenshot of
89   Lindell
                 Lindell at Cyber
                                               Y
                 Symposium

                 08-10-21
                 screenshots of
                 Symposium
                 materials
90   Hursti                                    Y
                 HH 001295
                 CTRL-001329
                 CTRL

                 08-10-21 to 08-
                 12-21 Cyber
                 Symposium
                 Program Agenda
91   Lindell                                   Y
                 LINDELL-
                 000023-000025
                 (Confidential)

                 08-10-21 to 08-
                 12-21 Website
                 data for Cyber
92   Lindell     Symposium                     Y
                 DEFS-000684
                 (Confidential)




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EX     Witness      Description      Auth     Stip   Offered     Admitted       Refused   Court Use Only

                 Lindell Cyber
                 Symposium Poster

93   Lindell     HH 000024 CTRL                Y
                 (Confidential
                 AEO)

                 08-11-21
                 screenshot of
94   Lindell
                 Cyber Symposium
                                               Y
                 My Pillow ad

                 08-11-21
                 @KyleClark
95   Coomer
                 Twitter post re
                                               N
                 Oltmann

                 08-11-21
                 screenshot of
96   Lindell
                 Peters at Cyber
                                               N
                 Symposium

                 08-12-21
                 screenshot of My
97   Lindell
                 Pillow Flash Sale
                                               N
                 Ad

                 08-12-21 text
                 messages between
                 Mike Lindell and
                 Mary Fanning
                 during
     Montgomer   Symposium; P;
98   y           Case No. 2:33-                Y
                 mc-000005;
                 USDC-MD
                 Florida
                 DEF035556.0000
                 94-000095




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EX      Witness      Description      Auth     Stip   Offered     Admitted       Refused   Court Use Only

                  08-13-21 Cyber
99    Lindell     Symposium                     Y
                  Expenses

                  08-14-21 text
                  message from Joe
                  to Mike
100   Oltmann                                   Y
                  DEFS-000244
                  (Confidential)

                  08-17-21 email
                  from Kirk Weibe
                  to Kurt Olsen re
                  Symposium
101   Olsen
                  fallout
                                                N

                  OLSEN 000016-
                  000018

                  08-24-21 NY
                  Times Magazine
                  article

102               OAN001894-                    Y
                  001904
                  Coomer Depo Ex
                  7

                  08-28-21 Terms of
103   Lindell     Use for                       N
                  Frankspeech

                  09-17-21
                  defamatory
                  statements
                  spreadsheet
104                                             Y
                  000356-000385
                  Coomer Depo Ex
                  10

                  09-17-21 List of
                  cases
105                                             Y
                  EC 22cv01129
                  000356-000395




                                                19
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EX      Witness      Description       Auth     Stip   Offered     Admitted       Refused   Court Use Only

                  10-05-21 email
                  between Olsen
                  and Howse and
                  Lindell re
106   Howse       Halderman report               Y
                  segments
                  Howse Prod. 0685
                  to 0688

                  10-05-21 text
                  message chain
                  between Olsen
107   Howse       and Howse                      Y

                  CTRL 000097 and
                  98

                  12-23-21 text
                  message from
                  Mike Lindell re
108   Howse       Clay Clark lawsuit             Y

                  DEFS 000224
                  (Confidential)

                  09-02-22
                  Frankspeech
109   Lindell
                  website re My
                                                 Y
                  Pillow Flash Sale

                  02-28-22 text
                  messages from
                  unsaved number
                  purported to be
110   Oltmann
                  Joey Camp; “You
                                        N        N
                  know I have the
                  Zoom recorded
                  don’t you?”

                  03-07-22
                  screenshot;
111   McGuire     Conservative                   N
                  Daily; Oltmann,
                  McGuire, Peters

                  04-04-22 Jeremy
112   Coomer
                  Jojala Tweet
                                                 N




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EX      Witness      Description        Auth     Stip   Offered     Admitted       Refused   Court Use Only

                  04-05-22 news
                  article re
113   Coomer      MyPillow CEO                    N
                  headlines rally for
                  Peters

                  04-05-22 photo of
                  Mike Lindell after
114   Coomer
                  service of Coomer
                                                  N
                  complaint

                  04-08-22 email
                  from Lindell to
                  Herring re Eric
                  Coomer
115   Lindell
                  information
                                                  N

                  LINDELL-000790
                  (Confidential)

                  DA Report re:
                  Election
                  abnormalities
116               (May 19, 2022)                  N
                  Ex. 4 to
                  Deposition of Tina
                  Peters

                  05-20-22 email
                  chain between
                  Brannon Howse
                  and Kurt Olsen re
                  adding lawsuit to
117   Howse
                  Frankspeech
                                                  N
                  website
                  Howse Prod. 0520
                  to 0523

                  05-03-21 to 05-
                  23-22 website
                  analytics re
118   Lindell     FrankSpeech                     N

                  FRANKSPEECH-
                  000058




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EX     Witness      Description        Auth     Stip   Offered     Admitted       Refused   Court Use Only

                 06-08-22 Email
119              EC 22cv01129                    Y
                 001254-001255

                 06-08-22 Email
                 EC 22cv01129
120              001254-001255                   Y
                 Coomer Depo
                 Ex 20

                 06-17-22 Pltf First
                 Amended
                 Complaint
121                                              Y
                 Coomer Depo
                 Ex 2

                 06-24-22 Original
                 Complaint v
                 Byrne et al
122                                              Y
                 Coomer Depo
                 Ex 12

                 07-12-22 text
                 message from Joe
123   Oltmann    DEFS-000250-                    Y
                 000252
                 (Confidential)

                 Plaintiff’s
124              FRCP 26(a)(1)                   Y
                 Initial Disclosures

                 08-31-22 text
                 message between
                 Oltmann and
125   Oltmann    Lindell                         Y

                 DEFS-000255
                 (Confidential)




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EX      Witness      Description         Auth     Stip   Offered     Admitted       Refused   Court Use Only

                  09-05-22 PiDoxa
                  Customer Service
                  Agreement with
                  FrankSpeech,
126   Lindell     LLC                              N

                  FRANKSPEECH
                  000001-000008
                  (Confidential)

                  09-06-22 Graphs
                  re My Pillow ads
127   Lindell
                  on Fox News
                                                   N
                  since 2017

                  09-28-22
                  Frankspeech
128   Lindell     responses to                     Y
                  plaintiff’s requests
                  for admissions

                  12-16-22 excerpt
                  from Joe Oltmann
                  depo transcript, p.
129   Howse       209-211; Coomer                  Y
                  v Lindell et al
                  (Confidential)

                  12-16-22 excerpt
                  from Joe Oltmann
                  depo transcript, p.
130   Howse       294; Coomer v                    Y
                  Lindell et al
                  (Confidential)

                  01-06-23
                  Frankspeech LLC
                  P&L 2021
131   Lindell                                      N
                  FRANKSPEECH-
                  000017




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                  01-06-23
                  Frankspeech LLC
                  P&L 2022
132   Lindell                                       N
                  FRANKSPEECH-
                  000018

                  01-06-23
                  Frankspeech
                  supplemental
133   Lindell
                  answers to
                                                    Y
                  plaintiff’s first set
                  of interrogatories

                  01-13-23 print out
                  of My Pillow, Inc.
                  Bill Payments for
134   Lindell
                  CD Solutions, Inc.
                                                    N
                  (05-2021 through
                  12-2022)

                  01-25-23 Pls Resp
                  to FrankSpeech
135               First St of
                                                    Y
                  Interrogatories

                  01-25-23 Pls Resp
                  to Lindell First St
                  of Interrogatories
136               Coomer Depo
                                                    Y
                  Ex. 1
                  (Confidential)

                  01-25-23 Pls Resp
                  to Lindell First St
137               of Request for                    Y
                  Production of
                  Documents

                  01-25-23 Pls Resp
                  to My Pillow First
138               St of
                                                    Y
                  Interrogatories




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                  01-25-23 Pls Resp
                  to My Pillow First
139               St of Request for               Y
                  Production of
                  Documents

                  1.25.23 Pls Resp
                  to FrankSpeech
140               First St of Request             Y
                  for Production of
                  Documents

                  03-02-23 Lindell
141   Lindell     TV link to                      Y
                  frankspeech.com

                  03-02-23
142   Lindell     screenshot from                 Y
                  frankspeech.com

                  03-03-23Pl’s Resp
143               to Lindell 2nd Set              Y
                  of Interrogatories

                  03-09-23 excerpt
                  from Mike Lindell
                  as corp rep of
                  Frankspeech depo
144   Olsen       transcript, p. 215-             Y
                  220; Coomer v
                  Lindell et al
                  (Confidential)

                  05-05-23 Pltf
145               Expert                          Y
                  Disclosures

                  Jerry Bremer
146               Depo and Trial                  Y
                  Testimony

                  Jerry Bremer
147               Rebuttal Report
                                                  Y




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                 Jerry Bremer
148              Resume
                                                Y


                 06-05-23
149                                             Y
                 Peter Kent Report

                 Peter Kent
150              Resume
                                                Y


                 06-08-23 letter
                 from atty
                 Christopher
                 Kachouroff to atty
                 Charlie Cain re
151   Olsen
                 Kurt Olsen
                                                N
                 subpoena
                 production and
                 response to
                 subpoena

                 06-12-23 Pl’s
                 Resp to
152              FrankSpeech 2nd                Y
                 Set of
                 Interrogatories

                 06-12-23 Pl’s
                 Resp to
                 FrankSpeech 2nd
153              Set of Requests
                                                Y
                 for Production of
                 Documents

                 06-12-23 Pl’s
                 Resp to
                 FrankSpeech 3rd
154              Set of Requests
                                                Y
                 for Production of
                 Documents

                 06-12-23 Pl’s
                 Resp to Lindell
                 2nd Set of
155              Request for
                                                Y
                 Production of
                 Documents




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                 6.12.23 Pl’s Resp
156              to Lindell 3rd Set             Y
                 of Interrogatories

                 Plaintiff’s
                 FRCP 26(a)(1)
157              Amended
                                                Y
                 Disclosures

                 Plaintiff’s
                 Supplemental
158              Expert
                                                Y
                 Disclosures

                 03-12-25 Jovan
159   Oltmann    HuttonPulitzer X               N
                 social media post

                 Clip 1 -
                 Conservative
160   McGuire
                 Daily (Nov. 5,
                                                N
                 2020)

                 Clip 2 –
                 Conservative
161   McGuire
                 Daily (Nov. 9,
                                                N
                 2020)

                 Clip 3–
                 Conservative
162   McGuire
                 Daily (Nov. 9,
                                                N
                 2020)

                 Clip 4–
                 Conservative
163   McGuire
                 Daily (Nov. 9,
                                                N
                 2020)

                 Clip 5–
                 Conservative
164   McGuire
                 Daily (Nov. 9,
                                                N
                 2020)




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                 Clip 6–
                 Conservative
165   McGuire
                 Daily (Nov. 9,
                                              N
                 2020)

                 Clip 7–
                 Conservative
166   McGuire
                 Daily (Nov. 11,
                                              N
                 2020)

                 Clip 12–
                 Conservative
167   McGuire
                 Daily (Nov. 12,
                                              N
                 2020)

                 Clip 8 – Oltmann
                 on Peter Boyles
168   Oltmann
                 Show (Nov. 15,
                                              N
                 2020)

                 Clip 8–
                 Conservative
169   McGuire
                 Daily (Nov. 30,
                                              N
                 2020)

                 Clip 9 –
                 Conservative
170   McGuire
                 Daily (Dec. 3,
                                              N
                 2020)

                 Clip 10–
                 Conservative
171   McGuire
                 Daily (Dec. 14,
                                              N
                 2020)

                 AV CLIP: 02-02-
                 21 segment from
172   Ruddy
                 Newsmax website
                                              N
                 (Feb. 2, 2021)

                 AV CLIP:
                 Newsmax anchor
173   Ruddy
                 walks off camera
                                              N
                 (Feb. 3, 2021)




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                  Lindell Absolute
174   Lindell     Proof Clip (Feb.             N
                  5, 2021)

                  Clip 1 –
                  Conservative
175   Oltmann
                  Daily (Mar. 11,
                                               N
                  2021)

                  03-30-21 AV
                  Lindell Metaxas
176   Lindell     Interview re                 N
                  Social Platform
                  (Mar. 30, 2021)

                  Clip 1 – Oltmann
177   Lindell     on FrankSpeech               N
                  (May 3, 2021)

                  Clip 2– Oltmann
178   Lindell     on FrankSpeech               N
                  (May 3, 2021)

                  Clip 4– Oltmann
179   Lindell     on FrankSpeech               N
                  (May 3, 2021)

                  Clip 5– Oltmann
180   Lindell     on FrankSpeech               N
                  (May 3, 2021)

                  Clip 6– Oltmann
181   Lindell     on FrankSpeech               N
                  (May 3, 2021)

                  Clip 7– Oltmann
182   Lindell     on FrankSpeech               N
                  (May 3, 2021)

                  Clip 8– Oltmann
183   Lindell     on FrankSpeech               N
                  (May 3, 2021)




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                  Clip 11 –
                  Newsmax
184   Lindell
                  Retraction (May
                                                N
                  8, 2021)

                  Clip 3 – Lindell
185   Oltmann     on FrankSpeech                N
                  (May 9, 2021)

                  06-24-21
                  PatriotTakes
186   Lindell     Twitter video of              N
                  Lindell (June 24,
                  2021)

                  06-30-21 AV
                  Cyber
187   Lindell     Symposium                     N
                  announcement
                  (June 30, 2024)

                  Clip 13 –
                  MyPillow
                  commercial for
188   Lindell
                  Cyber
                                                N
                  Symposium (July
                  4, 2021)

                  07-17-21 AV
                  Cyber
189   Lindell     Symposium                     N
                  announcement
                  (July 17, 2021)

                  Clip 15 – Pre-
                  Symposium CNN
190   Lindell
                  Report (Aug. 6,
                                                N
                  2021)

                  Clip 7 - Oltmann
                  at Cyber
191   Peters
                  Symposium
                                                N
                  (Aug. 11, 2021)




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                  Clip 8 – Oltmann
                  and Clements at
192   Peters      Cyber                          N
                  Symposium
                  (Aug. 11, 2021)

                  Clip 4 – Clements
                  at Cyber
193   Oltmann
                  Symposium
                                                 N
                  (Aug. 12, 2021)

                  Clip 17 – Lindell
                  promoting promo
194   MyPillow    code “Audit” at                N
                  Symposium
                  (Aug. 12, 2021)

                  08-12-21 AV
      Lindell/    Cyber
195               Symposium Joe                  N
      Oltmann     Oltmann re China
                  (Aug. 12, 2021)

                  Clip 16 – Post-
                  Symposium CNN
196   MyPillow
                  Report (Aug. 13,
                                                 N
                  2021)

                  Cyber
                  Symposium clip
197   Lindell     of Lindell with                N
                  Olsen (Aug. 18,
                  2021)

                  Clip 11 – Oltmann
198   McGuire     deposition footage             N
                  (Sept. 8, 2021)

                  09-21-21 Salida
199               Body Cam                       N
                  Footage

                  Clip 19 – Lindell
                  at Colorado
200   MyPillow
                  Capitol (Apr. 5,
                                                 N
                  2022)




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                  04-05-22 AV
201   Lindell     Lindell service               N
                  (Apr. 5, 2022)

                  Clip 21 – Lindell
                  on FrankSpeech
202   Lindell
                  re: Coomer
                                                N
                  (Apr. 6, 2022)

                  Clip 23 – Lindell
                  on Bannon’s War
203   Lindell
                  Room (Apr. 7,
                                                N
                  2022)

                  Clip 24 – Lindell
                  promoting
204   Lindell     MyPillow on                   N
                  RSBN (Apr. 9,
                  2022)

                  Clip 14 – The
                  Max McGuire
205   McGuire
                  Show (May 3,
                                                N
                  2022)

                  Clip 15– The Max
206   McGuire     McGuire Show                  N
                  (May 3, 2022)

                  Clip 25 – Lindell
                  promoting
207   MyPillow    MyPillow on                   N
                  RSBN (May 6,
                  2022)

                  Clip 26 –
                  Conservative
208   MyPillow
                  Daily (May 23,
                                                N
                  2022)

                  Clip 6 –
                  Conservative
209   Oltmann
                  Daily (July 13,
                                                N
                  2022)




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                  Clip 1 – Lindell at
                  Moment of Truth
210   Howse
                  Summit (Aug. 22,
                                                  N
                  2022)

                  Clip 2 – Lindell at
                  Moment of Truth
211   Howse
                  Summit (Aug. 22,
                                                  N
                  2022)

                  Clip 10 – Peters
                  on FrankSpeech
212   Peters
                  re: Coomer (Sept.
                                                  N
                  7, 2022)

                  Conservative
                  Daily-Lawsuit vs
213   Lindell
                  Lindell (Sept. 15,
                                                  N
                  2022)

                  Conservative
                  Daily (Sept. 15,
214   Oltmann
                  2022) -Dennis
                                                  N
                  Montgomery

                  Clip 27 – Lindell
215   Lindell     on Pakman Show                  N
                  (Oct. 11, 2022)

                  Clip 11 –
                  Conservative
216   Oltmann
                  Daily (Nov. 11,
                                                  N
                  2022)

                  Clip 7 –
                  Conservative
217   Oltmann
                  Daily (Dec. 3,
                                                  N
                  2022)

                  Clip 3 – Lindell
218   Howse       on FrankSpeech                  N
                  (Mar. 10, 2023)

                  Clip 4 – Lindell
219   Howse       on FrankSpeech                  N
                  (Mar. 10, 2023)




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                  Clip 5 – Lindell
220   Howse       on FrankSpeech                  N
                  (Mar. 10, 2023)

                  Clip 6 – Lindell
221   Howse       on FrankSpeech                  N
                  (Mar. 10, 2023)

                  Clip 7 – Lindell
222   Howse       on FrankSpeech                  N
                  (Mar. 10, 2023)

                  Clip 1 – Lindell
223   Olsen       on FrankSpeech                  N
                  (Mar. 10, 2023)

                  Lindell Report
224   Lindell
                  (Mar. 10, 2023)
                                                  N


                  Conservative
225   Oltmann     Daily Clip (Dec.                N
                  6, 2024)

                  Conservative
226   Oltmann     Daily Clip (Jan. 1,             N
                  2025)

                  11-21-23 Lindell
                  Answer to Pltf
227   Lindell
                  Follow Up
                                                  Y
                  Interrogatory

                  11-21-23 Lindell
                  Responses to Pltf
228   Lindell
                  Second Requests
                                                  Y
                  for Admission

                  Absolute Proof
229   Lindell
                  (video)
                                                  N


                  Scientific Proof
230   Lindell
                  (video)
                                                  N




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EX      Witness      Description    Auth     Stip   Offered     Admitted       Refused   Court Use Only

                  Absolute
231   Lindell     Interference                N
                  (video)

                  Frankspeech
232   Lindell     homepage from               N
                  Wayback Machine




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       Respectfully submitted this 9th day of May 2025.

         /s/ Charles J Cain                           /s/ Christopher I. Kachouroff
 Charles J. Cain, No. 51020                    Christopher I. Kachouroff
 ccain@cstrial.com                             chris@mck-lawyers.com
 Bradley A. Kloewer, No. 50565                 Robert J. Cynkar
 bkloewer@cstrial.com                          rcynkar@mck-lawyers.com
 Cain & Skarnulis PLLC                         McSweeny, Cynkar & Kachouroff PLLC
 P. O. Box 1064                                13649 Office Place, Suite 101
 Salida, Colorado 81201                        Woodbridge, Virginia 22192
 719-530-3011/512-477-5011 (Fax)               703-621-3300

 Ashley N. Morgan                              Jennifer T. DeMaster
 amorgan@cstrial.com                           361 Falls Road, Suite 610
 Cain & Skarnulis PLLC                         Grafton, Wisconsin 53024
 303 Colorado Street, Suite 2850               jennifer@demasterlaw.com
 Austin, Texas 78701                           414-235-7488
 512-477-5000/512-477-5011 (Fax)
                                               ATTORNEYS FOR DEFENDANTS
 Thomas J. Rogers III, No. 28809
 trey@rklawpc.com
 Mark Grueskin, No. 14621
 mark@rklawpc.com
 David M. Beller, No. 35767
 david@rklawpc.com
 RechtKornfeld PC
 1600 Stout Street, Suite 1400
 Denver, Colorado 80202
 303-573-1900

 ATTORNEYS FOR PLAINTIFF




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